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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                          Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                  Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                          Defendants.


          [PROPOSED] ORDER TO SHOW CAUSE WHY DEFENDANTS MATTHEW
           PARROTT AND TRADITIONALIST WORKER PARTY SHOULD NOT BE
        SANCTIONED FOR SPOLIATION AND ORDERED TO PERMIT PLAINTIFFS TO
           CONDUCT A FORENSIC EXAMINATION OF INFORMATION SYSTEMS
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          WHEREAS, on March 14, 2018, Plaintiffs filed a Motion for an Order to Show Cause

   Why Defendants Matthew Parrott and Traditionalist Worker Party Should Not Be Sanctioned for

   Spoliation and Ordered to Permit Plaintiffs to Conduct a Forensic Examination of Information

   Systems (the “Motion”);

          WHEREAS, the Court has considered Plaintiffs’ Motion and the papers filed in support

   thereof; and it appears that Plaintiffs have shown good cause for the entry of this Order. It is by

   this Court hereby:

          ORDERED that Defendants Matthew Parrott and Traditionalist Worker Party appear at

   ___ a.m./p.m. on the ____ day of ____________, 2018, Courtroom No. ______ of the United

   States Courthouse in Charlottesville, VA, and show cause, if any there be, why this Court should

   not grant said Motion and enter an Order: (1) prohibiting Matthew Parrott and Traditionalist

   Worker Party from further destroying relevant evidence; (2) permitting Plaintiffs immediately to

   electronically preserve and conduct a forensic examination of Matthew Parrott and Traditionalist

   Worker Party’s information systems and electronically stored information, including all

   computers and electronic devices, to attempt to recover any deleted data, at Parrott’s and TWP’s

   expense; (3) providing for adverse inferences to be drawn to the extent that any evidence has

   been lost or destroyed; and (4) awarding Plaintiffs the costs and attorneys’ fees associated with

   the Motion.

   Dated: March ____ , 2018

   SO ORDERED




                                                             Hon. Joel C. Hoppe, M.J.
